         Case 3:20-cv-05218-BHS-TLF Document 120
                                             121 Filed 11/04/20
                                                       11/05/20 Page 1 of 5



                           FILED           LODGED
 1                                   RECEIVED             THE HONORABLE THERESA L. FRICKE
                     Nov 05, 2020
 2
                     CLERK U.S. DISTRICT COURT
             WESTERN DISTRICT OF WASHINGTON AT TACOMA
 3          BY                                   DEPUTY



 4

 5

 6

 7

 8
                              IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
10

11
     KIMBERLEY POE,
                                                           Case No. 20-cv-05218-BHS-TLF
12
                                     Plaintiff,
13
           vs.                                             JOINT MOTION TO STAY REMOTE
14                                                         HEARING AND DECISION ON
     ETHICON, INC. and JOHNSON &                           DAUBERT MOTIONS PENDING
15   JOHNSON,                                              SETTLEMENT DISCUSSIONS

16                                   Defendants.
17                                                         Noting Date For: November 5, 2020

18

19

20

21

22

23

24
                                                                                      LAW OFFICES
25   JOINT MOTION TO STAY REMOTE HEARING                                          CALFO EAKES LLP
     AND DECISION ON DAUBERT MOTIONS                                       1301 SECOND AVENUE, SUITE 2800
                                                                           SEATTLE, WASHINGTON 98101-3808
     PENDING SETTLEMENT DISCUSSIONS                                       TEL (206) 407-2200 FAX (206) 407-2224
     (Case No. 20-CV-05218-BHS-TLF)
           Case 3:20-cv-05218-BHS-TLF Document 120
                                               121 Filed 11/04/20
                                                         11/05/20 Page 2 of 5




 1          Plaintiff Kimberly Poe and Defendants Ethicon, Inc. and Johnson & Johnson, through their

 2   counsel, hereby jointly request that the Court stay the remote hearing in this matter scheduled for

 3   November 10, 2020. The parties are currently conducting productive and ongoing global settlement

 4   negotiations that would include the above-captioned case. As such, the parties request that the

 5   Court continue the hearing on the parties’ Daubert motions, currently scheduled for November 10,

 6   as well as the related deadline for submission of supporting electronic exhibits to the Court on

 7   November 6. If an agreement in principle is not reached within 30 days, the parties will work with

 8   the Court to re-set the hearing.

 9          WHEREFORE, the parties jointly request that this Court stay the November 10 hearing and

10   November 6 exhibit submission deadline for 30 days.

11          DATED this 4th day of November, 2020.

12
                                                      CALFO EAKES LLP
13
                                                      By      s/ Patty A. Eakes
14                                                    Patricia A. Eakes, WSBA# 18888
                                                      Angelo J. Calfo, WSBA# 27079
15                                                    Lindsey E. Mundt, WSBA# 49394
                                                      1301 Second Avenue, Suite 2800
16                                                    Seattle, WA 98101
                                                      Phone: (206) 407-2200
17                                                    Fax: (206) 407-2224
                                                      Email: pattye@calfoeakes.com
18                                                            angeloc@calfoeakes.com
                                                              lindseym@calfoeakes.com
19

20

21

22                                                                                    LAW OFFICES
                                                                                  CALFO EAKES LLP
      JOINT MOTION TO STAY REMOTE HEARING                                  1301 SECOND AVENUE, SUITE 2800
                                                                           SEATTLE, WASHINGTON 98101-3808
23    AND DECISION ON DAUBERT MOTIONS                                     TEL (206) 407-2200 FAX (206) 407-2224
      PENDING SETTLEMENT DISCUSSIONS
      (Case No. 3:20-cv-05218-BHS-TLF) - 1
24
         Case 3:20-cv-05218-BHS-TLF Document 120
                                             121 Filed 11/04/20
                                                       11/05/20 Page 3 of 5




 1                                          BUTLER SNOW LLP

 2                                          By s/ Anita Modak-Truran
                                            Anita Modak-Truran, (pro hac vice)
 3                                          150 3rd Ave. South, Suite 1600
                                            Nashville, TN 37201
 4                                          Phone: (615) 651-6751
                                            Fax: (615) 651-6701
 5                                          Email: Anita.ModakTruran@butlersnow.com

 6                                          Attorneys for Defendants Ethicon, Inc. and
                                            Johnson & Johnson
 7

 8                                          BRENEMAN GRUBE OREHOSKI, PLL

 9                                          By s/ Joe Grube
                                            Joseph A. Grube, WSBA # 26476
10                                          1200 Fifth Avenue, Suite 625
                                            Seattle, WA 98101
11                                          Phone: (206) 624-5975
                                            Email: joe@bgotrial.com
12
                                            KLINE & SPECTER
13
                                            By s/ Eleanor Aldous
14                                          Eleanor O. Aldous
                                            Admitted Pro Hac Vice
15                                          1525 Locust Street, 19th Floor
                                            Philadelphia, PA 19102
16                                          Telephone: (215) 772-1000
                                            Facsimile: (215) 735-0960
17                                          Eleanor.aldous@klineandspecter.com

18
                                            Counsel for Plaintiff
19

20

21

22                                                                         LAW OFFICES
                                                                       CALFO EAKES LLP
     JOINT MOTION TO STAY REMOTE HEARING                        1301 SECOND AVENUE, SUITE 2800
                                                                SEATTLE, WASHINGTON 98101-3808
23   AND DECISION ON DAUBERT MOTIONS                           TEL (206) 407-2200 FAX (206) 407-2224
     PENDING SETTLEMENT DISCUSSIONS
     (Case No. 3:20-cv-05218-BHS-TLF) - 2
24
           Case 3:20-cv-05218-BHS-TLF Document 120
                                               121 Filed 11/04/20
                                                         11/05/20 Page 4 of 5




 1
                                       [PROPOSED] ORDER
 2          IT IS HEREBY ORDERED that the parties’ Joint Motion to Stay Remote Hearing and
 3   Decision on Daubert Motions Pending Settlement Discussions is GRANTED. The hearing

 4   scheduled for November 10, 2020 is struck.

 5
                                 5th day of_______________,
                   DATED this ______            November 2020.
 6

 7

 8                                                THE HONORABLE THERESA L. FRICKE
 9   CALFO EAKES LLP

10   By      s/ Patty A. Eakes
     Patricia A. Eakes, WSBA# 18888
11   Angelo J. Calfo, WSBA# 27079
     Lindsey E. Mundt, WSBA# 49394
12   1301 Second Avenue, Suite 2800
     Seattle, WA 98101
13   Phone: (206) 407-2200
     Fax: (206) 407-2224
14   Email: pattye@calfoeakes.com
             angeloc@calfoeakes.com
15           lindseym@calfoeakes.com

16   BUTLER SNOW LLP

17   By s/ Anita Modak-Truran
     Anita Modak-Truran, (pro hac vice)
18   150 3rd Ave. South, Suite 1600
     Nashville, TN 37201
19   Phone: (615) 651-6751
     Fax: (615) 651-6701
20   Email: Anita.ModakTruran@butlersnow.com

21

22                                                                           LAW OFFICES
                                                                         CALFO EAKES LLP
      JOINT MOTION TO STAY REMOTE HEARING                         1301 SECOND AVENUE, SUITE 2800
                                                                  SEATTLE, WASHINGTON 98101-3808
23    AND DECISION ON DAUBERT MOTIONS                            TEL (206) 407-2200 FAX (206) 407-2224
      PENDING SETTLEMENT DISCUSSIONS
      (Case No. 3:20-cv-05218-BHS-TLF) - 3
24
           Case 3:20-cv-05218-BHS-TLF Document 120
                                               121 Filed 11/04/20
                                                         11/05/20 Page 5 of 5




 1   Attorneys for Defendants Ethicon, Inc. and Johnson & Johnson

 2   BRENEMAN GRUBE OREHOSKI, PLL

 3   By /s/ Joe Grube
     Joseph A. Grube, WSBA # 26476
 4   1200 Fifth Avenue, Suite 625
     Seattle, WA 98101
 5   Phone: (206) 624-5975
     Email: joe@bgotrial.com
 6
     KLINE & SPECTER
 7
     By /s/ Eleanor Aldous
 8   Eleanor O. Aldous
     Admitted Pro Hac Vice
 9   1525 Locust Street, 19th Floor
     Philadelphia, PA 19102
10   Telephone: (215) 772-1000
     Facsimile: (215) 735-0960
11   Eleanor.aldous@klineandspecter.com

12
     Counsel for Plaintiff
13

14

15

16

17

18

19

20

21

22                                                                              LAW OFFICES
                                                                            CALFO EAKES LLP
      JOINT MOTION TO STAY REMOTE HEARING                            1301 SECOND AVENUE, SUITE 2800
                                                                     SEATTLE, WASHINGTON 98101-3808
23    AND DECISION ON DAUBERT MOTIONS                               TEL (206) 407-2200 FAX (206) 407-2224
      PENDING SETTLEMENT DISCUSSIONS
      (Case No. 3:20-cv-05218-BHS-TLF) - 4
24
